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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 JOSUE PAGUADA,                                               :
                                            Plaintiff,        :
                                                              :    20 Civ. 5987 (LGS)
                            -against-                         :
                                                              :          ORDER
 ORREFORS KOSTA BODA, LLC,                                    :
                                            Defendant.        :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

          WHEREAS, the initial pretrial conference in this matter is scheduled for October 22,

2020;

          WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan (“CMP”) (Dkt. 10); it is hereby

          ORDERED that the October 22, 2020, initial pretrial conference is cancelled. If the

parties believe that a conference would nevertheless be useful, they should inform the court

immediately so the conference can be reinstated. The CMP will issue in a separate order. The

parties’ attention is particularly directed to the provisions for periodic status letters, and the need

for a pre-motion letter to avoid cancellation of the final conference and setting of a trial date. It is

further

          ORDERED that if Defendants seek to file a motion to dismiss, they shall file a pre-

motion letter pursuant to Individual Rules III.A.1 and III.C.2. It is further

          ORDERED that, regarding settlement discussions, if and when the parties are ready to

proceed with a settlement conference with the assigned Magistrate Judge or with participation in

the District’s Mediation Program, they shall file a joint letter on ECF requesting a referral.

          The parties should be aware that the Court does not extend the deadlines for fact and

expert discovery absent compelling circumstances, and that the use of any alternative dispute
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resolution mechanism does not stay or modify any date in the CMP.



Dated: October 16, 2020
       New York, New York




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